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             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF ALABAMA
                      NORTHERN DIVISION


BRIANNA BOE, individually and on            Case No. 2:22-cv-184-LCB-CWB
behalf of her minor son, MICHAEL BOE;
et al.,                                     Honorable Liles C. Burke

            Plaintiffs,

and

UNITED STATES OF AMERICA,

            Plaintiff-Intervenor,

      v.

STEVE MARSHALL, in his official
capacity as Attorney General of the State
of Alabama; et al.,

            Defendants.


RESPONSE IN OPPOSITION TO EAGLE FORUM OF ALABAMA AND
SOUTHEAST LAW INSTITUTE’S MOTIONS TO QUASH DOCUMENT
                      SUBPOENAS
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                                INTRODUCTION

      To facilitate efficient discovery relevant to its equal protection claim, the

United States issued narrowly tailored document subpoenas to Eagle Forum of

Alabama (“EFA”) and Southeast Law Institute (“SLI”). The subpoenas were issued

for the singular purpose of understanding the origins and development of

Alabama’s Vulnerable Child Compassion and Protection Act (“VCAP”). EFA and

SLI filed motions to quash the subpoenas in their entirety without attempting to

meet and confer, and have rebuffed the United States’ subsequent efforts to seek

informal resolution and limit the issues brought before this Court, including offers

to narrow the subpoenas and accept production on a rolling basis.

      The motions before the Court are not only premature but are also without

merit. First, the origins and development of VCAP are plainly relevant to the

United States’ equal protection claim, which requires close examination of the

justifications for enacting a statute that criminalizes medically necessary treatments

for certain Alabamians based on their sex and transgender status. In their motions,

EFA and SLI acknowledge that they assisted in drafting legislation, provided

legislation to the bill sponsors, and educated and communicated with legislators

about the bill. Courts routinely order discovery of materials pertaining to these

types of activities, such as external communications and lobbying with legislators,

in equal protection cases like this without infringing on First Amendment rights.


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       This Court recognized the relevance of the information the United States

seeks when, during the preliminary injunction proceedings on May 6, 2022, the

Court asked where the bill resulting in VCAP came from and who wrote it. At that

time, no party had an answer to those critical questions. Quashing these subpoenas

hampers the United States’ efforts to obtain an answer to those questions.

       For these reasons, and because the organizations’ blanket arguments

regarding First Amendment infringements, attorney client privilege, and work

product doctrine are not fully articulated or legally or factually justified, the

motions to quash should be denied.

                                    BACKGROUND

I.     The United States’ Subpoenas and Efforts to Seek Cooperation from
       EFA and SLI

       Based on public statements made by or on behalf of EFA and SLI asserting

that they drafted VCAP, 1 the United States subpoenaed these organizations for

information. The subpoenas asked for 11 categories of documents concerning the

organizations’ involvement in Alabama state legislation related to gender

dysphoria and transgender persons. The United States’ requests sought to confirm


1
 See, e.g., WXJC Radio, Priority Talk: Becky Gerritson, One News Page (last viewed Sept. 19,
2022), https://www.onenewspage.com/video/20220307/14469464/Priority-Talk-Becky-
Gerritson.htm [https://perma.cc/6TRY-4XUU] (“Eagle Forum drafted the bill . . . . Our general
counsel scoured the nation and came up with this bill.”); Erin Brewer, The Truth About VCAP:
The Vulnerable Child Compassion and Protection Act, YouTube (Dec. 16, 2020),
https://www.youtube.com/watch?v=wBMr7AT7JI0 [https://perma.cc/REF9-V5BW] (describing
Eric Johnston of SLI as “one of the people who really helped to write the Alabama VCAP”).

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their involvement in creating VCAP, as well as the basis for the legislation.

      Prior to service, the United States made multiple attempts to contact

representatives for the organizations in order to work together cooperatively. On

August 4, 2022, the United States emailed contacts for EFA and SLI notifying

them that it would soon be issuing subpoenas and asking if the organizations would

accept FedEx service and confirm their addresses. Neither EFA nor SLI responded

to those emails. Ex. A (Aug. 4, 2022 United States’ emails to EFA and SLI).

      On August 9, 2022, the United States provided notice and copies of the

subpoenas to Defendants and Private Plaintiffs. Ex. B (Aug. 9, 2022 United States’

email to Parties). Later that day, the United States sent its subpoenas to EFA and

SLI via FedEx, and they were delivered the next day. Accompanying the

subpoenas were cover letters explaining why the subpoenas were being issued, and

providing contact information for the United States should the organizations have

any questions or concerns. See ECF Nos. 151-1, 152-1. On August 11, 2022, the

United States again emailed contacts at EFA and SLI to follow up on the delivered

subpoenas. The United States asked if the organizations required the subpoenas to

be delivered by alternate means or to different addresses. Ex. C (Aug. 11, 2022

United States’ emails to EFA and SLI). Having received no response, the United

States served the subpoenas on EFA and SLI via in-person delivery by a process

server under Federal Rule of Civil Procedure (“Rule”) 45 on August 15, 2022. Ex.


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D (United States’ Subpoenas to EFA and SLI with Proof of Service).

       Four days later, the United States received a call from counsel representing

EFA and SLI, who requested more time to respond. The United States indicated

that it could grant an extension and agreed to get back to counsel regarding the

extension’s length. After this phone call, counsel sent an email to the United States

clarifying that in his request for an extension to respond to the subpoenas, EFA and

SLI’s responses would likely include objections and that by seeking an extension

for their “response” they did not necessarily mean “producing.” Ex. E (Aug. 19-

Sept. 7, 2022 email correspondence between the United States and representatives

for EFA and SLI). The United States thanked counsel for the clarification, and

requested the responses by September 7, 2022. Ex. E.

       The following Monday, on August 22, 2022, counsel responded back that

they planned to object to and move to quash the subpoenas by September 7, 2022.

Ex. E. Counsel provided no other information, and did not communicate with the

United States again until filing EFA and SLI’s motions to quash on September 7,

2022. ECF Nos. 151, 152. The United States learned of the bases for the

organizations’ objections only through the public filings.

II.    The United States’ Subsequent Attempts to Meet and Confer

       Upon receiving EFA and SLI’s filings, the United States again contacted

EFA and SLI’s counsel asking to discuss their motions to quash. Ex. E. The parties



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spoke on September 8, 2022. On the call, counsel for EFA and SLI confirmed the

organizations’ position that their First Amendment argument applies to all

categories requested in the subpoenas, and to all of their documents. Counsel also

confirmed the organizations’ position that the attorney-client privilege and work

product doctrine apply to all categories requested as well, but counsel did not

believe every document was covered by those protections. Counsel noted that they

had not yet reviewed all potentially responsive documents.

      The United States asked if EFA and SLI would provide a privilege log or

any of the categories of information listed in the Court’s “Guidelines to Civil

Discovery Practice in the Middle District of Alabama” (“Discovery Guidelines”)

so the United States could understand and assess the claims of privilege. Counsel

responded that the organizations would not produce a privilege log, in part because

he and his clients felt that the subpoenas were “political harassment.”

      The United States emphasized in that call that it does not seek the names of

EFA or SLI’s members or membership lists. The United States also attempted to

explain the requested documents’ relevance given the organizations’ role in

drafting the law, and the need to assess whether the law’s purported justifications

were factually supported. Counsel reiterated that his clients were not in the “mood

to compromise.” The United States concluded by informing counsel that it was

willing to discuss a proposal for a more limited production at any time.


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       On September 14, 2022, after a closer review of the motions to quash, the

United States again contacted counsel for EFA and SLI, and noted that because

EFA and SLI confirmed that they drafted or directly assisted in drafting VCAP, the

United States was offering to withdraw most of its requests. Specifically, the

United States indicated that it would accept a limited production in response to

only categories 1, 2, 4, 5, and 6 of the subpoenas—requests focused on the drafting

of VCAP and the organizations’ communications with legislators and other groups

concerning the legislation. Ex. F (Sept. 14-16, 2022 email correspondence between

the United States and representatives for EFA and SLI). The United States also

offered to accept production on a rolling basis. Ex. F. The United States reiterated

that the subpoenas do not seek membership lists or other protected information,

and emphasized its willingness to discuss any counter proposals, questions, or

other suggestions for ways to limit the issues before the Court. Ex. F. Counsel for

EFA and SLI responded that his clients’ position had not changed. Ex. F.

       Under the Court’s Discovery Guidelines, discovery disputes (including

between a party and a subpoenaed non-party 2) should be resolved informally prior

to court intervention via a “meaningful exchange” by telephone or in-person

meeting. Discovery Guidelines, § I(A). EFA and SLI have made no attempt to


2
 Tyndall Fed. Credit Union v. Darty, No. 1:17-CV-00111-WC, 2018 WL 3015379, at *2 (M.D.
Ala. May 15, 2018) (reminding parties to a motion to quash a subpoena, including a non-party to
the litigation, to follow the Middle District of Alabama’s Guidelines for Civil Discovery).

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resolve their concerns with the United States’ subpoenas before or after filing their

motions to quash. As reflected in statements and press releases made at the time of

their filings and soon after3—EFA and SLI’s stance is absolute non-cooperation. 4

                                   LEGAL STANDARD

       The scope of discovery available via a subpoena mirrors the scope of

discovery available under Rule 26. Roche Diagnostics Corp. v. Priority Healthcare

Corp., No. 218CV01479KOBHNJ, 2019 WL 4686352, at *4 (N.D. Ala. Feb. 12,

2019). “Parties may obtain discovery regarding any nonprivileged matter that is

relevant to any party’s claim or defense and proportional to the needs of the

case[.]” Fed. R. Civ. P. 26(b)(1). Relevance is construed broadly, and “[a] variety

of types of information not directly pertinent to the incident in suit could be

relevant to the claims or defenses raised in a given action.” Fed. R. Civ. P. 26(b)(1)

2000 advisory committee’s note. Relevant information “encompasses any matter


3
  The Absolute Truth, Interview with Becky Gerritson – Eagle Forum of Alabama,
Frankspeech.com (Sept. 15, 2022), https://frankspeech.com/video/absolute-truth-interview-
becky-gerritson-eagle-forum-alabama (interview with Becky Gerritson of EFA where she stated,
with respect to the subpoena, “we are seeing this all across the country. This kinda [sic] . . .
lawfare that our government is using against its citizens and it’s got to stop and we will continue
to stand up against it.”); Providence Forum, Podcast on Important First Amendment Case in
Alabama (Sept. 12, 2022), https://providenceforum.org/blog/podcast-on-important-first-
amendment-case-in-alabama/ [https://perma.cc/9MAU-EDTG] (interview with Becky Gerritson
of EFA, characterizing the subpoena as intended “to sideline us from what we are doing” and to
“weaponize government against citizens”); Eagle Forum of Alabama, DOJ Issues Outrageous
Subpoena to Eagle Forum of AL (Sept. 7, 2022), https://alabamaeagle.org/2022/09/doj-
subpoena-to-efa/ [https://perma.cc/576J-JLFC].
4
  This provides yet another reason why the motions should be denied. See Parker v. Parker, 829
F. App’x 389, 392 (11th Cir. 2020) (failure to comply with local rule requiring meet and confer
prior to filing a motion is grounds to deny that motion); Tyndall, 2018 WL 3015379, at *2.

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that bears on, or that reasonably could lead to other matter that could bear on, any

issue that is or may be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S.

340, 351 (1978). “The Federal Rules of Civil Procedure strongly favor full

discovery whenever possible.” Farnsworth v. Proctor & Gamble, 758 F.2d 1545,

1547 (11th Cir. 1985).

      A recipient may seek to quash a subpoena if the subpoena “requires

disclosure of privileged or other protected matter, if no exception or waiver

applies.” Fed. R. Civ. P. 45(d)(3)(A)(iii). To assert a privilege in their motions to

quash, EFA and SLI must “describe the nature of the documents, communications,

or tangible things not produced or disclosed—and do so in a manner that, without

revealing information itself privileged or protected, will enable other parties to

assess the claim.” Fed. R. Civ. P. 26(b)(5)(A)(ii); see, e.g., Johnson v. Gross, 611

F. App’x 544, 547 (11th Cir. 2015) (third party failed to meet his burden under

Rule 26(b)(5)(A) because he “did not describe the nature of the undisclosed

communications in a manner that allowed the plaintiffs and the district court to

evaluate his claimed privilege. Nor did he give a reason why the work-product

doctrine should apply to all of the communications.”).

      Offering generalized, blanket assertions of privilege to a third-party

subpoena is strongly disfavored. Johnson, 661 F. App’x at 547 (“Blanket

assertions of privilege before a district court are usually unacceptable . . . Instead,


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[a non-party] must present himself with his records for questioning, and as to

. . . each record elect to raise or not to raise the defense.”); Carnes v. Crete Carrier

Corp., 244 F.R.D. 694, 699 (N.D. Ga. 2007) (third-party “cannot assert the work

product privilege in a blanket fashion and must provide a detailed list of the

documents it claims are covered”).

                                    ARGUMENT

I.     Discovery Concerning VCAP’s Origins, Development, and Purported
       Justifications Is Relevant to the United States’ Equal Protection Claim.

       The United States alleges that VCAP violates the Equal Protection Clause by

discriminating on the basis of sex and transgender status, subjecting the statute to

heightened scrutiny. To survive heightened scrutiny, Defendants must show that

the law “serves important governmental objectives” and that “the discriminatory

means employed are substantially related to achievement of those objectives.”

United States v. Virginia, 518 U.S. 515, 533 (1996). “The justification must be

genuine, not hypothesized or invented post hoc in response to litigation.” Id. A

classification does not withstand heightened scrutiny when the “alleged objective”

differs from its “actual purpose.” Mississippi Univ. for Women v. Hogan, 458 U.S.

718, 730 (1982). Plaintiffs are able to introduce evidence of pretext as part of (not

independent to) an equal protection claim, especially in cases where defendants

dispute that their classification facially discriminates on the basis of sex. See, e.g.,

Pers. Adm’r of Massachusetts v. Feeney, 442 U.S. 256, 272, 274-75 (1979). The

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equal protection inquiry in this case demands that the origin, purpose, and

purported justifications for VCAP be closely examined. If Defendants’ proffered

justification for VCAP is merely hypothesized, is inconsistent with what the record

shows was the purpose for its enactment, or if the legislative history shows that the

proffered justification is mere pretext for invidious discrimination, the statute

cannot survive heightened scrutiny. 5 Further, while the public justifications offered

in support of VCAP have varied, if the proponents of the bill provided the

legislature with incorrect or misleading medical information, that too would be

relevant. This information is therefore critical to the Court’s inquiry on the United

States’ equal protection claim.

       During the preliminary injunction proceedings on May 6, 2022, the Court

asked the parties where the bill came from and who wrote the bill. This Court

made clear it was not asking about the bill’s sponsors. Indeed, in equal protection

challenges, courts routinely consider a statute’s (or policy’s) origins and legislative

history as evidence of its purpose, particularly where, as here, a statute is

unconstitutional on its face. See, e.g., Brandt v. Rutledge, 551 F. Supp. 3d 882, 891

(E.D. Ark. 2021), aff’d sub nom. Brandt by & through Brandt v. Rutledge, No. 21-


5
   Additionally, the legislative history of VCAP would be relevant if the Court were to apply
rational basis review. See, e.g., United States Dep’t of Agriculture v. Moreno, 413 U.S. 528, 534
(1973) (in equal protection case applying rational basis review, relying on legislative history to
strike down an amendment to the federal food stamp program’s definition of “household,”
because it was found to have been enacted to prevent so-called “hippies” and “hippie
communes” from participating in the food stamp program).

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2875, 47 F.4th __, 2022 WL 3652745, at *3 (8th Cir. Aug. 25, 2022) (“The State’s

goal in passing [Arkansas law banning gender affirming care] was not to ban a

treatment. It was to ban an outcome that the State deems undesirable.”).

      It is no surprise, therefore, that courts often consider the involvement of

third-party actors in the enactment of a law or policy when conducting an equal

protection analysis. See, e.g., Stout by Stout v. Jefferson Co. Bd. of Education, 882

F.3d 988, 1008 (11th Cir. 2018) (the actions and “statements of those who played a

primary role in lobbying for the state action” translated into “official action” and

“directly b[ore] on the purpose of the” government action); Jackson v. City of

Auburn, Ala., 41 F. Supp. 2d 1300, 1311-12 (M.D. Ala. 1999) (noting that if “a

zoning board’s response to political pressure amounts to implementation of local

residents’ discriminatory impulses, then the board’s actions may give rise to a

cause of action for intentional discrimination.”).

      For example, in City of S. Miami v. DeSantis, 561 F. Supp. 3d 1211, 1271-

72 (S.D. Fla. 2021), the court explained that the “specific sequence of events”

leading up to a bill’s passage, such as legislator statements, meetings, reports, or

staff analyses, “can be relevant to show that a legislative body took certain action

to effectuate the discriminatory motives of private third parties.” The court detailed

the interactions between a state bill’s sponsors and third-party advocacy groups,

such as e-mail exchanges between advocates and legislators that included


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“strategic points on how to advocate for the bill, advice on proposed amendments

to [the bill], and input on modifications to the bill that would strengthen its effect,”

and noted such involvement was distinguishable from “random, unsolicited

commentary by uninvolved third-party advocacy groups.” Id. at 1272. The court

concluded that “the sequence of events and the pattern of communication between

[the bill’s] sponsors and [third-party advocates] strongly suggest that the

Legislature ratified the racially discriminatory views of [two third-party advocacy

organizations] and enacted [the bill] to effectuate those motives.” Id. (citing Stout

by Stout, 882 F.3d at 1007-08; Hallmark Devs., Inc. v. Fulton Cnty., Ga., 446 F.3d

1276, 1284 (11th Cir. 2006)).

        The extensive legislative involvement described by EFA and SLI in their

motions tracks closely to those considered persuasive by the court in DeSantis.

VCAP’s origins and development—including legislators’ interactions with third-

parties like EFA and SLI—are clearly relevant to the equal protection inquiry

demanded in this case and fit squarely within the permissible scope of discovery.

II.     EFA and SLI Fail to Meet Their Burden to Quash the Subpoenas.

        A.    EFA and SLI Fail to Justify their First Amendment Objections.

        In their motions to quash, EFA and SLI evoke freedom of speech, assembly,

exercise of religion, and petition to the government, but do not identify which

requests are implicated, nor which specific documents or categories of documents



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are so protected. EFA and SLI’s position appears to be that any amount of

cooperation with the subpoenas infringes on their protected First Amendment

activities. This argument fails. Materials such as those sought by the United States

are routinely ordered to be produced despite First Amendment privilege claims,

and EFA and SLI fail to justify their objections.

      Generally, “[t]he First Amendment does not prohibit discovery into

legitimate, relevant matters, even when such discovery may produce a chilling

effect on a party’s First Amendment rights.” United States v. Duke Energy Corp.,

218 F.R.D 468, 473 (M.D.N.C. 2003) (citing N.C. Elec. Membership Corp. v.

Carolina Power & Light Co., 666 F.2d 50, 53 (4th Cir. 1981)). “As the Supreme

Court made clear [in the seminal First Amendment case of Herbert v. Lando, 441

U.S. 153 (1979)] . . . the answer is not to suppress such evidence, but rather to

exercise judicial discretion by providing protection short of suppression.” Id.

      The only two cases cited by EFA and SLI that address the intersection

between the First Amendment and discovery, NAACP v. Ala. ex rel. Patterson, 357

U.S. 449 (1958) and Perry v. Schwarzenegger, 591 F.3d 1147 (9th Cir. 2010),

dealt with the disclosure of members’ names, addresses, and internal

communications concerning strategy and messaging, not communications with

third parties or lobbying materials provided to the government. As noted above, the

United States does not seek information on EFA or SLI’s members, rendering the


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Supreme Court’s analysis in Patterson inapplicable. EFA and SLI point to no

requests that could be interpreted as seeking this information. Moreover, the

United States does not oppose the redaction of personally identifiable information,

which EFA and SLI could have raised in a meet and confer.

      Perry is also inapplicable here. There, the court determined that supporters

of a California state proposition had established a prima facie case showing that

disclosure of their “internal campaign communications concerning strategy and

messaging” would result in infringement of their members’ associational rights.

Perry, 591 F.3d at 1153, 1163. But, similar to Patterson, “Perry and its progeny

have all dealt with the disclosure of either the identity of association members or

internal communications—not communications with third parties, let alone public

officials.” Sol v. Whiting, No. CV-10-01061-PHX-SRB, 2013 WL 12098752, at *3

(D. Ariz. Dec. 11, 2013); see also, e.g., In re Anonymous Online Speakers, 661

F.3d 1168, 1174 (9th Cir. 2011) (stating that Perry “was limited to private internal

campaign communications concerning the formulation of campaign strategies and

messages”). The United States is not seeking such internal communications or any

other proprietary information like membership lists that could reasonably be

perceived as chilling members’ activities.

      There is no “law that protects from public view communications with public

officials in their official capacity about a matter of public concern.” Sol, 2013 WL


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12098752, at *2. “[W]hile citizens plainly have a right to ‘communicate with

public officials on a matter of public concern,’ that does not mean they have a right

to protect these communications from public view.” Wal-Mart Stores, Inc. v. Texas

Alcoholic Beverage Comm’n, No. A-15-CV-134-RP, 2016 WL 5922315, at *7

(W.D. Tex. Oct. 11, 2016). Courts therefore reject the argument “that there is a

First Amendment right not only to lobby the government, but to do so secretly.” Id.

       This is not an instance of everyday Alabamians petitioning their elected

representatives. EFA engages in lobbying and is incorporated as a 501(c)(4)

registered organization. ECF No. 151-3, at ¶ 3. Every declarant for EFA is a

registered lobbyist.6 SLI is a 501(c)(3) registered organization and communicated

with multiple legislators on medical treatments for minors with gender dysphoria

upon invitation. ECF No. 152-3, at ¶¶ 2-5. Both acknowledge that they participated

in drafting VCAP (see ECF Nos. 151, at ¶ 2; 152, at ¶ 4), yet now claim a veil of

secrecy over those activities. These two interest groups are not akin to everyday,

private citizens contacting their elected representatives. By their own admission,

they wrote the text of Alabama state law, something that goes further than mere


6
 Alabama Ethics Commission, Lobbyist Registration Statement (Jan. 13, 2022),
https://ethics.alabama.gov/search/ViewReports.aspx?lid=13778&rpt=rptLobbyistRegistration
[https://perma.cc/NH58-G46Q] (Lobbyist Registration Statement of Becky Gerritson for EFA);
Alabama Ethics Commission, Lobbyist Registration Statement (Jan. 14, 2022),
https://ethics.alabama.gov/search/ViewReports.aspx?lid=14081&rpt=rptLobbyistRegistration
[https://perma.cc/ANR8-7NRJ] (Lobbyist Registration Statement of Margaret Clarke for EFA);
Alabama Ethics Commission, Lobbyist Registration Statement (Jan. 3, 2022).



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lobbying, of which courts routinely require disclosure. See, e.g., Wal-Mart Stores,

Inc., 2016 WL 5922315 at *5-6 (“the Court’s research has located many cases

where non-parties have been compelled to produce lobbying conversations”).7

       EFA and SLI offer no authority justifying a blanket First Amendment

privilege covering any and all requests and documents. Where courts have

considered infringement of the First Amendment right to association as a valid

discovery objection, the individual or group must show “with an ‘objectively

reasonable probability’—that ‘compelled disclosure will chill associational

rights.’” Flynn v. Square One Distribution, Inc., No. 6:16-MC-25-ORL-37TBS,

2016 WL 2997673, at *2 (M.D. Fla. May 25, 2016). “The movant bears the burden

of making this prima facie showing.” Id. “[T]o show an ‘objectively reasonable

probability,’ a movant must go beyond conclusory statements and demonstrate

through proofs ‘a basis for the assertions made.’” Id.

       In cases where a party has met its burden to prove a “First Amendment

privilege,” courts consider far more both in terms of quantity and detail than that

provided by EFA and SLI. Id. at *3 (citing cases where organizations submitted “at

least 6 declarations from staff and members,” “declarations from several


7
  See also, e.g., Fla. State Conf. of Branches & Youth Units of NAACP v. Lee, 568 F. Supp. 3d
1301, 1307 (S.D. Fla. 2021) (ordering third-party to comply with subpoena seeking “Documents
and Communications reflecting, discussing, or otherwise relating to any rationale(s) for enacting
[the state bill],” including documents and communications with the Governor and any member of
the state legislature); Duke Energy Corp., 218 F.R.D. at 472 (denying third party’s motion for a
protective order over communications with government agency in rulemaking proceedings).

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individuals,” “specific evidence of hostility,” “multiple affidavits,” “two letters,

three declarations, deposition testimony from two witnesses, and minutes,” and

“three declarations by [organization’s] members, detailing the adverse effects of

the summons on [the organization’s] organizational and fundraising activities.”).

Here, EFA and SLI fail to show a credible fear of harassment if the subpoenas are

not quashed because the United States does not seek any members’ names or

information. Declarants, who are EFA and SLI leadership, already revealed their

identities through their motion and public statements. And their declarations

simply make assertions without evidence. Such self-serving motions are not

enough. See Duke Energy Corp., 218 F.R.D. at 473 (organization’s “claim that

enforcement of the discovery order could likely cause current members to

withdraw is conclusory. There is no showing that this would be as a result of fear

that exposure of their ideas or beliefs could lead to some type of harm, harassment,

or reprisal. Self-serving declarations are not sufficient.”).

      Additionally, EFA and SLI assert this privilege generally and untethered to

any particular request or category of documents, thus “fail[ing] to demonstrate how

disclosure of the specific information [requested]—[the organization’s] external

communications with government officials related to [a] Senate Bill []—would

subject its members to ‘threats, harassment, or reprisals’ from the Government or

private individuals.” Fla. State Conf. of Branches & Youth Units of NAACP, 568 F.


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Supp. 3d at 1307 (denying organization’s First Amendment privilege claim in

response to a third-party subpoena).

       Even if this Court follows the framework of Perry as EFA and SLA argue,

and finds that EFA and SLI have met their burden of showing infringement on

their members’ associational rights, the United States has already “demonstrated an

interest in obtaining the [information] it seeks which is sufficient to justify the

deterrent effect [.]” Perry, 591 F.3d at 1161. The United States has shown that

information on VCAP’s origins and development is critical to the equal protection

inquiry demanded in this case. See Section I, supra. And as SLI confirms, “[t]he

Alabama Legislature has no formal reporting or record keeping system,” making

alternative options for obtaining this information unlikely. ECF No. 152-3 ¶ 7. The

United States’ interest in this discovery would thus overcome EFA and SLI’s

failed First Amendment objections even if they were legitimate.8

       B.      EFA and SLI Provide No Information to Assess Their Claims of
               Attorney-Client Privilege and Work Product.

       EFA and SLI object to producing potentially responsive documents to the



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  For these same reasons, the United States has demonstrated an interest in the information that
outweighs any claim of undue burden by EFA. Sullivan v. PJ United, Inc., No. 7:13-CV-01275-
LSC, 2017 WL 11675693, at *5 (N.D. Ala. Dec. 15, 2017) (“in deciding whether a subpoena
imposes an undue burden courts balance ‘the requesting party’s need for the discovery against
the burden imposed on the subpoenaed party.’”). SLI confirmed that production was not
burdensome. ECF No. 152-3 ¶ 6 (“The problem is not producing documents, but the basis for
doing so.”). And the organizations rejected the United States’ attempt to limit any potential
burden by offering to accept a rolling production.

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United States based on vague assertions of attorney-client privilege and work

product. See ECF No. 151, at ¶ 7 (“a number of the documents sought by the non-

party subpoena are covered or potentially covered by the attorney-client and/or

work product privileges”) (citing Declaration of Margaret S. Clarke); ECF No.

151-4 (Declaration of Margaret S. Clarke), at ¶ 7 (“I consider many of these

documents to be my work product and covered by the attorney-client and work

product privileges.”) (emphasis added); ECF No. 152, at ¶ 8 (same language and

citing generally to the Declaration of A. Eric Johnston).

      The United States agrees that EFA and SLI need not produce materials

covered by the attorney-client and work product privileges, but EFA and SLI must

provide information about what is being withheld and on what basis. EFA and SLI

have not provided any information to explain or justify their claims of these

privileges. The party invoking the attorney-client privilege “bears the burden of

proving its existence.” Steele v. Birmingham Jefferson Civic Ctr. Auth., No. 2:17-

CV-02139-SGC, 2019 WL 12447342, at *3 (N.D. Ala. Sept. 12, 2019). “The

elements of the attorney-client privilege are: (1) Where legal service advice of any

kind is sought, (2) from a professional legal advisor in his capacity as such, (3) the

communications relating to that purpose, (4) made in confidence, (5) by the client,

(6) are at his instance permanently protected, (7) from disclosure by himself or by

the legal advisor, (8) except the protection may be waived.” E.E.O.C. v. DiMare


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Ruskin, Inc., No. 2:11-CV-158-FTM-99, 2012 WL 12067868, at *6 (M.D. Fla.

Feb. 15, 2012). Similarly, “the party invoking the work-product privilege bears the

burden of establishing that the privilege applies.” Johnson, 611 F. App’x at 547.

The work product doctrine applies to “documents and tangible things that are

prepared in anticipation of litigation or for trial by or for another party or its

representative[.]” Fed. R. Civ. P. 26(b)(3)(A). It is impossible to assess the merits

of EFA or SLI’s privilege claims without any of this information.

      The United States requested that EFA and SLI produce a privilege log, or

otherwise provide any detail regarding their claims of privilege, as described in the

Court’s Discovery Guidelines, § I(J). Counsel for EFA and SLI declined, asserting

that doing so was not necessary. When asked if they claim these privileges with

respect to every request and every document, counsel admitted that the privileges

do not apply to every document. See Background, Section II, supra. When asked

for basic details, such as dates or number of documents implicated, counsel noted

that he had not reviewed the documents and did not have that information.

                                   CONCLUSION

      For the reasons set forth above, the United States respectfully requests that

the Court deny EFA and SLI’s motions to quash the subpoenas. In the alternative,

the United States requests that the Court order the parties to meet and confer about

the subpoenas with the benefit of a privilege log.


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Dated: September 21, 2022          Respectfully submitted,

SANDRA J. STEWART                  KRISTEN CLARKE
United States Attorney             Assistant Attorney General
Middle District of Alabama         Civil Rights Division

PRIM F. ESCALONA                   JOHN POWERS (DC Bar No. 1024831)
United States Attorney             Counsel to the Assistant Attorney General
Northern District of Alabama       Civil Rights Division

LANE H. WOODKE                     CHRISTINE STONEMAN
Chief, Civil Division              Chief, Federal Coordination and Compliance
Northern District of Alabama       Section

    /s/ Jason R. Cheek             COTY MONTAG (DC Bar No. 498357)
JASON R. CHEEK                     Deputy Chief, Federal Coordination and
Deputy Chief, Civil Division       Compliance Section
MARGARET L. MARSHALL
Assistant U.S. Attorney                /s/ Kaitlin Toyama
U.S. Attorney’s Office             ALYSSA C. LAREAU (DC Bar No. 494881)
Northern District of Alabama       RENEE WILLIAMS (CA Bar No. 284855)
1801 Fourth Avenue North           KAITLIN TOYAMA (CA Bar No. 318993)
Birmingham, AL 35203               Trial Attorneys
Tel.: (205) 244-2104               United States Department of Justice
Jason.Cheek@usdoj.gov              Civil Rights Division
Margaret.Marshall@usdoj.gov        Federal Coordination and Compliance
                                   Section
STEPHEN D. WADSWORTH               950 Pennsylvania Avenue NW – 4CON
Assistant United States Attorney   Washington, DC 20530
U.S. Attorney’s Office             Tel.: (202) 305-2994
Middle District of Alabama         Alyssa.Lareau@usdoj.gov
Post Office Box 197                Renee.Williams3@usdoj.gov
Montgomery, AL 36101-0197          Kaitlin.Toyama@usdoj.gov
Tel.: (334) 223-7280
Stephen.Wadsworth@usdoj.gov




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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 21, 2022, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to counsel of record.


                                               Respectfully submitted,

                                               s/ Kaitlin Toyama
                                               Trial Attorney
                                               U.S. Department of Justice




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